 Case 8:24-cv-01442-KKM-AAS Document 4 Filed 06/26/24 Page 1 of 2 PageID 22



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


STATE OF FLORIDA,

       Plaintiff,

v.                                                  Case No: 8:24-cv-01442-KKM-AAS

MARQUIS JAMAAL WHITE,

       Defendant.
___________________________________

                                         ORDER

       Marquis Jamaal White removes his pending state criminal proceeding. White

claims “federal question” jurisdiction based on several federal regulations and a treaty

between the United States and Morocco. See (Doc. 1) at 2–3.

       Under 28 U.S.C. § 1455(b)(4), a federal court must remand summarily “[i]f it

clearly appears on the face of the notice and any exhibits annexed thereto that removal

should not be permitted.” The absence of jurisdiction is clear on the face of White’s notice

of removal. White cites § 1455, several federal regulations, and Article III of the

Constitution. (Doc. 1) at 2–3. This smattering of authorities fails to include even a

plausible ground for removing a state criminal prosecution to federal court. For example,

§ 1455 governs removal procedure but provides no substantive basis for removal. And the
    Case 8:24-cv-01442-KKM-AAS Document 4 Filed 06/26/24 Page 2 of 2 PageID 23




federal question statute, 28 U.S.C. § 1331, applies to civil cases. White neither cites nor

discusses 28 U.S.C. §§ 1442, 1442a, and 1443, the criminal removal provisions. White’s

failure to “include all grounds for . . . removal . . . that exist at the time of the filing of the

notice” generally constitutes “a waiver of such grounds.” 28 U.S.C. § 1455(b)(2).

        Because no stated ground for removal applies to a criminal case and because White

has waived any unstated ground, “it clearly appears on the face of the notice and any exhibits

annexed thereto that removal should not be permitted.” 28 U.S.C. § 1455(b)(4).

                                         CONCLUSION

               1. The Clerk must REMAND this action to the Circuit Court for

                   Hillsborough County, Florida, and transmit a certified copy of this order

                   to the clerk of that court.

               2. The Clerk must TERMINATE any pending motion and deadline.

               3. The Clerk must CLOSE this case.

        ORDERED in Tampa, Florida, on June 26, 2024.


                                                /s/ Steven D. Merryday
                                                STEVEN D. MERRYDAY
                                                UNITED STATES DISTRICT JUDGE *




*
 Signed by Judge Steven D. Merryday to expedite the resolution of this motion. This case remains assigned
to Judge Kathryn Kimball Mizelle.
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